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                                                                           ms                                                                             W6



                  would be your opinion of the Sellners' facility
    '
    2             If that were a common practice?
                                                                                 '
                                                                                 2
                                                                                                  all species and you're narrowing It down because

                                                                                                  thara's" lot of creatures on this .... rth that

    3             A.    Well, I o,.n't have that opinion booause it's            3                roly on water from fruits and veget<ibles and

    4             not a common pr .. ctice.                                      4                sllage and natural occurring dietary substances.

 5                Q.    Let's assume For a moment that it is. In                 5                Also, meat Is 70 percent wator.

 6                Your expert opinion, you can make assumptions                  6                Q.     So are you refusing to answer my question as

    7             based on different hypothetical situations.                    7                asked?

 B                A.    And then ycu that as some -                              B                A.     Well, I think you're refusing to give me a

 9                Q.    Let's assume for a moment that It's a common             9                n .. rrowdefinition ofw-hat is ..sked, I'm not -

rn                proctice that animals routinely go without water              rn                I'm not the enemy. I'm just trying to ask

u                for long periods of time. What would your                                        your - answer your question based on a proper-

'2                opinion be about that practice?                               '2
                                                                                    '             a proper quostlon.

n                 A.    Toll me, what does    <I   long porlod of ti mo                           Q.     All right- Dr. Pusillo, let's move on. I

                  moan to you?                                                                    would like to ask you to articulate the expert

'5                Q.   Twenty-four hours.                                       '5                opinions that you have fonnulated In this case.

                  A,    For <>Very species?                                     '6                       Are there any expert opinions that you have

'7


'"
,9
                  Q.

                 A,
                        Every Species.

                        Does the anim'll's diet cont.<>ln any natun:illy

                 canblning Wator?
                                                                                ,.
                                                                                '7



                                                                                ,9
                                                                                                  fonnulated in this case about the Cricket Hollow

                                                                                                  Zoo?

                                                                                                  A.     I was not askod to give an oxpert opinion.
                        Dr. Pusillo, please answer the question that                              I was asked to sit fora deposition,
                 Q.
                                                                                '°
2'               I asked you. This fs an opportunity for me to                  2'                Q.     So you have not fonnulated any expert

22               ask you questions, not for you to ask me                       22                opinions about the Cricket Hollow Zoo?

i'3              questions.                                                     >3                A.     Aboutwh .. t? About - really, you asked me

24               A.    Well, it"s Impossible to answer your                      4                to sit for a deposition, Th .. t"s what I've done.

25               question since you're asking a qu ..stlon based on             25                And you asked for four hours, and that's what I'm


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                                                                           W7                                                                             WB




                 doing.
'
2                Q.    To give you come context, Dr. Pusll!o, your
                                                                                '
                                                                                2
                                                                                                  before I actually h .. vc an expert opinion.

                                                                                                         I think it's a Frye ruling, and I believe

3                client, Ms. Sel!ner's attorney, has designated                 3                 It's like 116 or something Ilka that. So I Olm

4                you as an expert witness on nutrition at the zoo.              4                 not sitting here today with .. u your exhibits, so

5                And he flied that paperwork designating you as an              5                 I oannot give an expert opinion because I don't

6                expert witness with the federal court.                         6                 have "II your exhibits. And you did not provide

7                      So the purpose of this deposition is to                  7                them to mo 24 hours in advance.

B                ascertain what those expert opinions that you                  B                 Q.     So your understanding of expert witness

9                have about the zoo with regard to their                        9                 testimony Is limited   to circumstances when the
rn               emciencies and adequacy of the nutrltlonal                     w                opposing party would present you with exhibits?

u
'2                     So l'm trying to find out now what expert
                                                                                "                        And further, because 1 did not present you

                                                                                                 with exhibits, you dld not fonnulate any expert

n                opinions you might have about anything at the                                   opinions In this case?

'4               Cricket Hollow Zoo whether or not Jt ls limlted                                 A.      Well, I would hope as an attorney you would

'5               to nutrition or animal husbandry as you've held                                 want an expert opinion b"sed on all the faets.

,6               out today.                                                     '6                       MS. BLOME:      Okay. Dr. Puslllo, l will take

                       So with that context, have you formed any                '7               a moment then to consult with my co--.x>unsel, and

                 opinions about the Cricket Hollow Zoo that are                                  we'll be right back. But I think we can probably

'9               relevant to this case?
                                                                                '"
                                                                                '9               wrap this up.

>o               A.    Being designated an expert witness and                   20                            (Short recess was taken.)

~'               having been "sked to "ctu,.lly have a formal                   2'               Q.      Okay. Dr. Pusilb, I have a couple more

22               written opinion <1re two different things. And                 22               questions. I want to be absolutely dear that

23               if - I'm not sure about the federal c"se law,                  23               I'm understanding you correctly, that until this

,.               but what I undorst.ond of bolng deposed b10fore,               24               moment, you have not fonnulated any expert

25               th"'t has to be ask10d, and I hav .. to sa<> exhibits          25               opinions with -- as regard to the Cricket Hollow


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                                                                        :1()9                                                                          HO



                  Zoo; correct?                                                                 right now is -- you know, I was asked to do a
    '
    2             A.      I h,.ve not beon asked to fonn an expert
                                                                                 '2             dnposition, and that"s what I'm doing. I'm doing

                  opinion.                                                                      a deposition. I hav .. not been asked to give an
    '
    4             Q.      It's my r1ght as the attorney for the
                                                                                 '
                                                                                 4              expert opinion.

    5             plaintiff to discover the expert opinions that                 5              Q.     Have you been asked to testify at trial?

    6             you might have formulated with regm-.:1 to the                 6             A.      Yos.

    7             Cricket 1-iollow Zoo prior to trial.                           7              Q.     Do you plan on testifying at trial?

    8                     Today the discovery period ends for this               B              A.     I do not know when trial is. I hope to bo

    9             case, so l want to be clear that there's no                    9              available for the in-person testimony. If not, I

rn                addltlonal opportunity for you to Formulate                                   can be av.allable by video.

                 expert opinions, and then I'll ask you again.

                 Do you underst.-:ind7
                                                                                "              Q.      At trial do you plan on giving any testimony

                                                                                               about tfle adequacy of the nutritional plans at

'3                A.      I undorstand.                                         '3             the -    in place at the Cricket Hollow Zoo?

'4               Q.       And so as of today, the Cricket Hollow Zoo            '4             A.      If asked, yes.

,5               defendants, neither Pam nor Tom nor their                      '5             Q.      What will your testimony be?

,6               attorney, have asked you to formulate an expert                •6             A.      I have not looked at all of the available



,.,.
'7               opinion with regard to this case?

                 A.

                 Q.
                          No.

                       so you have not formulated any expert
                                                                                ,.
                                                                                '7



                                                                                '9
                                                                                               evid<tnce at this time.

                                                                                               Q.      At trial lf you're asked, do you plan on

                                                                                               giving an opinion about animal husbandry at the

20               opinions with regard to this case; correct?                    20             Cricket Hollow Zoo?

                 A.       I hav" not been asked to form an <>Xpert              2'             A.      After reviewing all the infonnatlon I am

22               opinion.                                                       '2             pr.,.scnted, yes.

2'               Q.       Do you have any plans to develop any expert           2'             Q.      What will your opinion be?

24               opinions as regard to this case?                               '4             A.      As I said, after being given all the

'5               A.    I have not been asked, so the plans are                  25             infonnatlon, I will ensweraacordingly.


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                                                                        '"                                                                             H2




                       All right. Dr. Pusillo, I have one last                                 distress seen at all and the pen was clean.

2
 '               Q.

                 question about a photograph that was provided to
                                                                                '
                                                                                2              Q.      This photo was taken in 2005; correct?

                 me approximately 30 minutes before this                                               Corroct.
'4               deposition began. And it's a photograph of
                                                                                '4             A.

                                                                                               Q.      Have you taken any photographs since 2005?

5                Mirage that you allegedly took in October of 2005              5              A.      Yes.

6                at the   Cricket Hollow Zoo. Have you seen that                6              Q.      And why Weren't those paragraphs produced?

7                photograph?                                                    7              A.      Well, for on.,, the subpoena states that

8                A.    Yes.                                                     8              within reasonable time frame can I gather the

9                Q.    And what Is the reason you took that                     9              infonnation, end that was an impossibility to

rn               photograph? Why did you take that paragraph?                   rn             a•:other all tho Information when I received a

                       The way I take notes is I take photogr,.phs.

'2
                 A.

                 Q.    What were you documenting with this
                                                                                "
                                                                                '2                     And in addltlon, I said that my h .. rd drive

'3               photograph?                                                    '3             tight now Is not working. However, I do have -

'4               A.    I was documenting the body condition, the                '4             I did bring - I did bring pictures to the

'5               hair quality, the current sl<ltus of the                       '5             deposition today. There are various pictures

•6               environment. There's a number of things th::1t are             •6             that I did bring that an> actual prints that I

'7               Indicated by photogr"phs, and notes sometime                   '7             hope to find more of the prints and also have



,.
20
                 don't alw"ys describe the situ .. tion "'swell as "

                 photograph.

                 Q.    What were you -- what story were you hoping
                                                                                rn
                                                                                '9

                                                                                20
                                                                                               .. ccess to "' download version of .the plntures that

                                                                                               rve taken that ate on dig Ital media as soon as I

                                                                                               can.

2'               to convey with this photograph?                                2'                     MS. BLOME:       Okay. Well, with that Dr.

22               A.    This tiger In this picture has excellent                 22             Puslllo, I think that it's dear that we need to

n                qu.,Jlty hair. It's in gro..t body condition.                  2'             reseive the opportunity to take your continued

24               It's not stressed. It was not In any position of               24             deposition at a different time after we could

25               being aggress Ive. It was <>"'-Im. There was no                25             review the materlals that you produced today.


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